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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             NORTHERN DIVISION

LISA M.F. KIM, et al.,                        *

      Plaintiffs,                             *      Case No. 1:21-cv-655-DKC
                                                     Hon. Deborah K. Chasanow
v.                                            *

BOARD OF EDUCATION OF                         *
HOWARD COUNTY,
                                              *
      Defendant.
           *     *        *      *      *     *      *      *     *      *

                     MEMORANDUM IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

I.    INTRODUCTION

      Maryland law provides for the election of a Student Member to the Howard

County Board of Education by students in grades 6-11 who attend the Howard

County Public School System. Md. Code Ann., Educ. § 3-701. The Student Member,

a junior or senior in one of Defendant’s high schools, has full voting power on the

Board, with limited exceptions. Named Plaintiffs Lisa M.F. Kim and William F.

Holland are registered voters in Howard County; Plaintiff J.K., represented by

Plaintiff Lisa M.F. Kim as his Next Friend and Parent, is a student in grade 6 at a

Catholic school in Howard County. All Plaintiffs are in malapportioned school board

districts and also are prevented from voting for the Student Member.

      Plaintiffs seek to maintain this class pursuant to Federal Rule of Civil

Procedure 23(b)(2) for the purposes of determining whether the Defendant, a
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political subdivision of the State of Maryland, violated the Fourteenth and First

Amendment rights of the Plaintiffs and class members similarly situated.

Plaintiffs make this motion for class certification pursuant to Fed. R. Civ. P.

23(c)(1), certifying this action as a class action on behalf of all persons in Howard

County who are in malapportioned school-board districts and who are prevented

from voting for the Student Member of Defendant Howard County Board of

Education because they are not students in the Howard County Public School

System in grades 6-11.

II.    STATEMENT OF FACTS

       The proposed class consists of all persons in Howard County who are in

malapportioned school-board districts and who are prevented from voting for the

Student Member of Defendant Howard County Board of Education because they are

not students in the Howard County Public Schools System in grades 6-11. The Fed.

R. Civ. P. 23(a) requirements of numerosity, commonality, and typicality are met

unambiguously by this class, and Plaintiffs would more than adequately represent

it. Because Defendant has acted on statutory grounds that apply not just generally,

but exactly and uniformly, to all members of this class, and because the declaratory

relief that Plaintiffs seek is appropriate to the class as a whole, this is a

paradigmatic instance of a class that should be certified pursuant to Fed. R. Civ. P.

23(b)(2).




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II.      ARGUMENT/ANALYSIS

      A lawsuit may be certified as a class action if it meets all the requirements of

Fed. R. Civ. P. 23(a), and one of the requirements of Rule 23(b). A court’s class

certification analysis must be “rigorous.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 351 (2011) (internal quotation marks omitted). Here, the prerequisites of Rule

23(a) and Rule 23(b)(2) are met.

         A.         Fed. R. Civ. P. 23(a)’s requirements are met by this action.

Fed. R. Civ. P. 23(a) provides that:

         One or more members of a class may sue or be sued as representative parties
         on behalf of all only if:

              (1)        the class is so numerous that joinder of all members is
                         impracticable;
              (2)        there are questions of law or fact common to the class;
              (3)        the claims or defenses of the representative parties are typical of
                         the claims or defenses of the class; and
              (4)        the representative parties will fairly and adequately protect the
                         interests of the class.

         Each of these elements – numerosity, commonality, typicality, and adequacy

of representation – is met here.

                    1.     The class is numerous.

         Rule 23(a)(1) requires the class be so numerous that joinder of all members is

“impracticable.” This is unquestionably true in the instant case. According to the

2010 U.S. Census, the most recent available, Howard County has a population of

287,075. Complaint, ¶ 30. Of the total population, approximately 58,868 of those

residents attend Howard County Public Schools, with the subset of that group

attending grades 6-11 not eligible for class membership. Id. That results in a

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potential plaintiff class of over 200,000 individuals. See also State Board of

Elections, “Voter Registration Figures by District,” available at

https://elections.maryland.gov/press_room/2020_stats/Eligible%20Active%20Voters

%20by%20County%20-%20PG20.pdf (accessed March 16, 2021) (Howard County

had 226,634 registered voters as of Oct. 17, 2020).

      Courts routinely certify much smaller classes than this. The Fourth Circuit

has held that there is “[n]o specified number is needed to maintain a class action....”

Cypres v. Newport News Gen. & Nonsectarian Hosp. Ass’n , 375 F.2d 648, 653 (4th

Cir. 1967); accord In re Titanium Dioxide Antitrust Litig. , 284 F.R.D. 328, 337 (D.

Md. 2012). “Classes of as few as 25 to 30 have been found to ‘raise[] the presumption

that joinder would be impracticable.’” Stanley v. Cent. Garden & Pet Corp., 891 F.

Supp. 2d 757, 770 (D. Md. 2012) (quoting In re Kirschner Med. Corp. Sec. Litig., 139

F.R.D. 74, 78 (D. Md. 1991)). In general, “courts find classes of at least 40 members

sufficiently large to satisfy the impracticability requirement.” In re Titanium

Dioxide Antitrust Litig., 284 F.R.D. at 337 (quoting Peoples v. Wendover Funding,

Inc., 179 F. R.D. 492, 497 (D. Md. 1998)). Here, the class would most certainly

exceed 200,000 members. See also, Boyd v. Coventry Health Care, Inc., 299 F.R.D.

451, 458 (D. Md. 2014) (discussing other factors that make joinder impossible.)

             2.     There are questions of law or fact common to the class.

      Fed. R. Civ. P. 23(a)(2) requires only that there must be a question of law or

fact common to the class. That element is also satisfied here.




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      One common question here is whether the Defendant, in denying Plaintiffs

the right to vote for the Student Member, dilutes the votes of Howard County voters

and the religious association rights of students in grades 6-12 who are being

homeschooled or attending private schools for religious reasons. Another common

question is the legal effect of the voting Student Member position on individuals

who reside in a malapportioned single member district. These questions are

identical for each individual class member. See, e.g., Thorn v. Jefferson-Pilot Life

Ins. Co., 445 F.3d 311, 319 (4th Cir. 2006) (“A common question is one that can be

resolved for each class member in a single hearing…[a] question is not common, by

contrast, if its resolution ‘turns on a consideration of the individual circumstances of

each class member.’). The common issue for the class as a whole may also be

litigated and resolved as one. Wal-Mart, 564 U.S. at 350 (“claims must depend upon

a common contention” that “must be of such a nature that it is capable of classwide

resolution--which means that determination of its truth or falsity will resolve an

issue that is central to the validity of each one of the claims in one stroke.”) In this

case, geographic residence or attendance at a religious school/homeschooling for a

religious reason are the only defining attributes of class members.

             3.     The claims of the Plaintiffs are typical of the claims of the class.

      The typicality requirement in the Fourth Circuit is exemplified by the notion

that, “‘as goes the claim of the named plaintiff, so go the claims of the class.’” Deiter

v. Microsoft Corp., 436 F.3d 461, 466 (4th Cir. 2006) (quoting Broussard v. Meineke

Discount Muffler Shops, Inc., 155 F.3d 331, 340 (4th Cir. 1998)). The class


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representative “must be part of the class and ‘possess the same interest and suffer

the same injury’ as the class members.” Broussard, 155 F.3d at 338 (internal

citations omitted). “[O]nly those plaintiffs or defendants who can advance the same

factual and legal arguments may be grouped together as a class.” Id. at 340

(internal citations omitted).

      Here, the named Plaintiffs and the other class members were all denied the

right to vote based on whether they attend Howard County Public Schools in grades

6-11 and/or because they live in malapportioned single member district. The

injuries to the named Plaintiffs are identical to the injuries of the class members.

             4.     Plaintiffs and their counsel will fairly and adequately protect
                    the interests of the class.

      The Fourth Circuit has recognized that “‘class representatives’ must ‘be part

of the same class and possess the same interest and suffer the same injury as the

class members’ and found that in [that] case the named plaintiffs satisfied these

requirements, noting particularly that no ‘potential conflict existed’ among class

members.” Gunnells v. Healthplan Servs., 348 F.3d 417, 425 (4th Cir. 2003)

(internal citations omitted); (c.f., Broussard, 155 F.3d at 337-38 (stating that

“manifest conflicts of interest” among members of class precludes class

certification). “Representation is adequate if: (1) the named plaintiff’s interests are

not opposed to those of other class members, and (2) the plaintiff’s attorneys are

qualified, experienced, and capable.” Boyd., 299 F.R.D. at 459 (citing Mitchell-

Tracey v. United Gen. Title Ins. Co., 237 F.R.D. 551, 558 (D. Md. 2006)).

       Here, there are no apparent conflicts of interest among Plaintiffs and the

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class members; all have been denied their right to vote for a member of the Howard

County Board of Education by Defendant’s policies and state law. The interests of

the named parties are in no way opposed to those of the other members of the class;

to the contrary the share an identical interest in vindication of their Constitutional

rights. In addition, Plaintiffs can prosecute this action on behalf of others. They

have retained attorneys with experience in the area of civil rights voting law to

bring the present action.

      Plaintiffs’ counsel J. Christian Adams has been a practicing attorney since

1994, and currently serves as President of the Public Interest Legal Foundation. He

has served as General Counsel to the South Carolina Secretary of State and in the

Voting Section of the United States Department of Justice. He is also a

Commissioner on the United States Commission for Civil Rights and thus spends

extensive time examining various matters related to civil rights.

      Mr. Adams served as counsel in a successful class action alleging violations of

the Fourteenth Amendment, Fifteenth Amendment and other federal civil rights

laws in Davis v. Guam. See Davis v. Guam, 932 F.3d 822 (9th Cir. 2019), cert.

denied Guam v. Davis, 140 S. Ct. 2739 (2020). During his service in the Voting

Section at the Department of Justice, Mr. Adams brought a wide range of election

cases including cases related to school board election plans violating the Voting

Rights Act and other federal civil rights violations. See, e.g., United States v.

Georgetown County School Board, Case No.2:08-889 (D. S.C), United States v. Ike

Brown, 494 F. Supp.2d 440 (S.D. Miss. 2007); United States v. Post Independent


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School District, Case No. 5:07-cv-00146 (N.D. Tex.); United States v. Seagraves ISD,

Case No. 5:07-cv-00147 (N.D. Tex.); United States v. Smyer ISD, Case No. 5:07-cv-

00148 (N.D. Tex.); United States v. City of Earth, Case No. 5:07-cv-00144 (N.D.

Tex.); United States v. Littlefield ISD, Case No. 5:07-cv-0145 (N.D. Tex.), among

others.

      In private practice he managed a collection of class certifications in multiple

American jurisdictions examining the nature and commonality of the claims, the

results of which were published at “They’re Making a Federal Case Out of It…in

State Court,” 25 Harv. J.L. & Pub. Pol’y 143 (Fall 2001), in which he acquired

familiarity with Rule 23.

      Maureen Riordan has been practicing law since 1985. From 1985 through

2000 Ms. Riordan served as an Assistant District Attorney in Nassau County, New

York where she prosecuted felony criminal cases, and specialized as the Bureau

Chief of the Special Victims Bureau which focused on crimes against children, the

elderly, and all sexual offenses.

      In August 2000, Ms. Riordan joined the Voting Section in the Civil Rights

Division at the Department of Justice as a Supervisory Attorney Reviewer

specializing in the review of voting changes subject to Section 5 of the Voting Rights

Act review by the Attorney General, which included the examination of state and

local redistricting plans for malapportionment and other discriminatory violations.

      During her 20-year tenure at the Department of Justice, Ms. Riordan was

responsible for the enforcement of several voting statutes including the Voting



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Rights Act, the National Voter Registration Act, the Help America Vote Act, and the

Uniformed Overseas Citizens Absentee Voter Act. Prior to her retirement in 2021,

Ms. Riordan served as Senior Counsel to the Attorney General for Civil Rights and

was responsible for oversight of all Voting Section litigation. This Court has

admitted both Mr. Adams and Ms. Riordan pro hac vice. ECF 4, ECF 5.

       Michael F. Smith has been practicing law since 1995, and is a member of the

Bar of this Court and others. He has experience in civil rights, constitutional and

class-action litigation at both the trial-court and appellate levels. In another civil-

rights case, this Court previously noted Mr. Smith is an “experienced, effective

attorney” who “merit[ed] high marks” and helped achieve “an excellent result” for

his client. Blake v. Baltimore County, 12 F. Supp. 3d 771, 776 (D. Md. 2012) (Legg,

J.).

       B.    The requirements of Fed. R. Civ. P. 23(b)(2) also are met.

       Federal Rule of Civil Procedure 23(b)(2) provides that “[a] class action may be

maintained if Rule 23(a) is satisfied and if…(2) the party opposing the class has

acted or refused to act on grounds that apply generally to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the

class as a whole.” “Rule 23(b)(2) applies only when a single injunction or

declaratory judgment would provide relief to each member of the class.” Wal-Mart,

564 U.S. at 360.

       Indeed, “‘[c]ivil rights cases against parties charged with unlawful, class-

based discrimination are prime examples’ of what (b)(2) is meant to capture.” Id. at



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361 (internal quotations omitted). For this reason, this case presents a paradigmatic

example of a lawsuit appropriate for (b)(2) certification. See EQT Prod. Co. v. Adair,

764 F.3d 347, 357 (4th Cir. 2014) (“‘[t]he key to the (b)(2) class is the indivisible

nature of the . . . remedy warranted.’”) (quoting Wal-Mart, 564 U.S. at 360 (internal

quotation marks omitted)). Courts have found Equal Protection claims arising from

voting rights violations in connection with redistricting plans and activities

appropriate for certification under Rule 23(b)(2). 7A Wright & Miller, Fed. Prac. &

Proc. Civ. § 1776.1 (3d ed.), citing Ramos v. Illinois, 781 F. Supp. 1353 (N.D. Ill.

1991) (class of all Chicago citizens alleging Equal Protection violation from delays in

redistricting due to population shifts); Newman v. Hunt, 787 F. Supp. 193 (D. Ala.

1992) (countywide class of African-American voters).

      C.     The Court may forgo notice.

      Where a class meets the requirements of Fed. R. Civ. P. 23(b)(1) or (b)(2) the

Court may rely on its discretion as to whether to order notice under Rule 23(d)(2),

since notice “may not be as important because the class typically will be more

cohesive….” 7B Wright & Miller, supra, § 1793. “To the degree that there is

cohesiveness or unity in the class and the representation is effective, the need for

notice to the class will tend toward a minimum.’” Id. (cleaned up), citing Advisory

Committee Note to the 1966 Amendment of Rule 23. Both conditions exist here: the

class consists of hundreds of thousands of Howard County voters with the exact

same interest in having their constitutional rights vindicated. And representation of




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them by both plaintiffs and counsel will be effective. The Court may forgo the

approval and sending of notices.

III.   CONCLUSION/RELIEF REQUESTED

       For the foregoing reasons, Plaintiffs request that the Court certify a class

consisting of all persons in Howard County who are in malapportioned school-board

districts and who are prevented from voting for the Student Member of Defendant

Howard County Board of Education because they are not students in the Howard

County Public Schools System in grades 6-11.

                                   Respectfully submitted,

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Dated: March 16, 2021              Attorneys for Plaintiffs

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                           CERTIFICATE OF SERVICE

      I, Michael F. Smith, co-counsel for Plaintiffs, certify that on March 16, 2021, I

emailed a copy of the foregoing paper to Mark Blom, Esq., General Counsel of

Defendant, via email, pursuant to his agreement to accept email service at

mark_blum@hcpss.org.

                                       By: /s/ Michael F. Smith
                                              Michael F. Smith
Dated: March 16, 2021




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